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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


NIKE, INC.,
                                                     Case No. 20-cv-03923
               Plaintiff,
                                                     Judge Thomas M. Durkin
v.
                                                     Magistrate Judge Gabriel A. Fuentes
THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff Nike, Inc.

(“Nike” or “Plaintiff”) hereby dismisses this action with prejudice as to the following Defendants:

                 Defendant Name                                     Line No.
         Shenzhen Becarin Apparel Co., ltd.                            11
               subaihe Official Store                                 105
                zerlos Official Store                                 126
   Case: 1:20-cv-03923 Document #: 36 Filed: 08/07/20 Page 2 of 2 PageID #:3738




Dated this 7th day of August 2020.   Respectfully submitted,



                                     /s/ RiKaleigh C. Johnson
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
                                     Jake M. Christensen
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